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Combatant Status Review Tribunal
Notice to Detainees

You are being held as an enemy combatant by the United States Armed Forces. An
enemy combatant is an individual who was part of or supporting Taliban or al Qaeda
forces, or associated forces that are engaged in hostilities against the United States or its
coalition partners. The definition includes any person who has committed a belligerent
act or has directly supported such hostilities.

The U.S. Government will give you an opportunity to contest your status as an enemy
combatant. Your case will go before a Combatant Status Review Tribunal, composed of
military officers. This is not a criminal trial and the Tribunal will not punish you, but
will determine whether you are properly held. The Tribunal will provide you with the
following process:

1. You will be assigned a military officer to assist you with the presentation of your
case to the Tribunal. This officer will be known as your Personal Representative.
Your Personal Representative will review information that may be relevant to a
determination of your status. Your Personal Representative will be able to
discuss that information with you, except for classified information.

2. Before the Tribunal proceeding, you will be given a written statement of the
unclassified factual basis for your classification as an enemy combatant.

3. You will be allowed to attend all Tribunal proceedings, except for proceedings
involving deliberation and voting by the members, and testimony or other matters
that would compromise U.S. national security if you attended. You will not be
forced to attend, but if you choose not to attend, the Tribunal will be held in your
absence. Your Personal Representative will attend in either case.

4. You will be provided with an interpreter during the Tribunal hearing if necessary.

5. You will be able to present evidence to the Tribunal, including the testimony of
witnesses. If those witnesses you propose are not reasonably available, their
written testimony may be sought. You may also present written statements and
other documents. You may testify before the Tribunal but will not be compelled
to testify or answer questions.

As a matter separate from these Tribunals, United States courts have jurisdiction to
consider petitions brought by enemy combatants held at this facility that challenge the
legality of their detention. You will be notified in the near future what procedures are
available should you seek to challenge your detention in U.S. courts. Whether or not you
decide to do so, the Combatant Status Review Tribunal will still review your status as an
enemy combatant.

If you have any questions about this notice, your Personal Representative will be able to
answer them.

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